Case 4:18-cv-00174-JED-JFJ Document 2-1 Filed in USDC ND/OK on 03/30/18 Page 1 of 7



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                                                                                DISTRICT COURT
                  IN THE DISTRICT COURT IN AND FOR TULSA ,~QI~N~ 18
                                STATE OF OKLAHOMA           t~        ((/ uu
                                                     DON NEWBERRY, Court Clerk
                                                     STATE OF OKLA, TULSA COUNTY
     TIM KIRK and TRACY KIRK, Individually  )
     and as Husband and Wife,
                                                 m2018wn00     0J                                            740
                     Plaintiffs,                                        Case No.
     V.                                                                 JudWFFERSON D. SELL

     CATLIN SPECIALTY INSURANCE
     COMPANY, a Foreign Insurance Corporation,
                                                                        Trial by Jury Demanded
                                                                        Attorney's Lien Claimed
                     Defendant.                                 )       pursuant to 5 O.S. Sect. 6


       PETITION FOR CONTRACT REFORMATION, FOR UNDERINSURED MOTORIST
      INSURANCE POLICY BENEFITS, FAILURE TO RENDER GOOD FAITH AND FAIR
                DEALINGS AND FOR EXEMPLARY PUNITIVE DAMAGES

             COMES NOW, Tim Kirk, and Tracy Kirk, individually and as husband and wife ("Kirks"),

     Plaintiffs, by and through their attorney of record, Joseph F. Bufogle, Sr., of the firm Bufogle & Associates,

     P.C., who for cause of action against the Defendants, Catlin Specialty Insurance Company, a Foreign

     Insurance Corporation ("Catlin") hereinafter allege and state as follows:

                                              CAUSE OF ACTION

             1.      Tim and Tracy Kirk, individually and as husband and wife ("Kirks") were residents of ffie
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                                                                                                               -       -a
     City of Tulsa, County of Tulsa, State of Oklahoma on the 28`h day of July, 2016 when the subitsl t
                                                                                                              r'l)    , "i
                                                                                                               CD
     incident/collision occurred and on the 27' day ofDecember, 2015 when the subject policy of insuran~e

     commenced; that the same Kirks were and are the principal owners of all stock in the closed Limited
                                                                                                              cn

     Liability Corporation known as House of Cars and Cycles, LLC., an Oklahoma Corporation;




                                                                                                     a DEFENDANT'S
                                                                                                         EXHIBIT
                                                                                                     a

                                                                                                     a
Case 4:18-cv-00174-JED-JFJ Document 2-1 Filed in USDC ND/OK on 03/30/18 Page 2 of 7




             2.       On or about the two dates mentioned above House of Cars and Cycles, LLC, an

     Oklahoma Corporation, ("The Insured") was operated and run privately at 4620 S. Memorial Dr., Tulsa,

     Oklahoma, 74145 in the City of Tulsa, County of Tulsa, State of Oklahoma as a small privately owned (by

     Kirks) dealership which sold car(s), motor home(s) and motorcycle(s) sales company;

                      Catlin is an insurance company formed at 160 Greentree Drive, Suite 101, Dover,

     Delaware, 19904, and operates as a Delaware Corporation, performing underwriting and processed claims

     at its Office at 4900 N. Scottsdale Road, Suite 3600, Scottsdale, Arizona, 85251; Catlin is not licensed

     in the State of Oklahoma to conduct such buisness.

             4.       On or about the 27' day of December, 2015, Catlin, by and through its underwriting agent;

     issued its policy of insurance, Policy # 3500302170, as renewal of a previously held identical policy to The

     Insured, including in its policy Forms and Endorsements its endorsement #CA 2118 0212 providing

     Oklahoma Uninsured Motorists Coverage for which Catlin charged and Kirks/The Insured paid $226.00

     in premiums which were received by Catlin placing the coverage for Underinsured Motorist Coverage upon

     the said policy for coverages up to the amount of One Million Dollars ($1,000,000.00) per occurrence for

     any such loss; that the said policy was to expire on or about Midnight on December 27"', 2016;

                      The said policy provided coverage to individuals injured, named insured or otherwise, by

     underinsured motorists while occupying or operating an insured vehicle;

             6.       The said policy was sold and underwritten defectively because its "Named Insured", as

     defined, only included the Corporation, House of Cars and Cycles, LLC., when the obvious intended

     beneficiaries were humans and not a corporation, who could suffer injury from an uninsured motorist and

     be covered by the said policy in the event of collision; that it was the intention of the parties in underwriting

     the said policy that it would have a beneficiary, in the event of loss, and that by making the "Named
Case 4:18-cv-00174-JED-JFJ Document 2-1 Filed in USDC ND/OK on 03/30/18 Page 3 of 7




     Insured" a paper corporation, the literal translation of the policy, in not including Kirks as "Named Insured"

     was to not provide underinsued motorist coverage to anyone;

             7.      Catlin insured seven cars belonging to a small closed corporation of which Kirks are the

     principal shareholders of The Insured.

                     By mistake, the policy failed to list Kirks as additional named insureds, in addition to, The

     Insured. As a result, the policy on its face does not purport to provide Kirks and their family UM coverage;

             9.      Tim was injured in a motor vehicle collision on the 28' day ofJuly, 2016, while occupying

     a vehicle covered by the policy described.

             10.     The error of Catlin in failing to write the policy in such away that the Kirks are named as

     a Named Insured estopps Catlin from claiming there is no coverage and constitutes constructive fraud,

     since Catlin should not be permitted to benefit from its error, to the detriment of Kirks.

             WHEREFORE, Kirks pray equitable relief that the policy be reformed to name Tim and Tracy

     Kirk ("Kirks") as additional Named Insurers, so that the policy's UM coverage will apply to the claims

     resulting from Tim Kirk's injuries.

                      CAUSE OF ACTION FOR BREACH OF UNDERINSURED
                            MOTORIST PROTECTION COVERAGE

             Kirks reassert all provisions pled above in paragraphs 1 through 10 and for Cause of Action for

     Breach of Underinsured Motorist Protection Coverage, hereinafter further allege and state:

             11.     That on or about the 28`h day of July, 2016, at approximately 9:00 pm, at the 6300

     block of East 51" Street, City of Tulsa, County of Tulsa, during the term of the policy of insurance cited

     above, Tim Kirk ("Tim") was operating a 2011 Black BMW AU bearing Vin Number

     WBAPM5C54BA745173 and 2017 Tag # 555JPG owned by Catlin's Named Insured House of Cars
Case 4:18-cv-00174-JED-JFJ Document 2-1 Filed in USDC ND/OK on 03/30/18 Page 4 of 7




     and Cycles, LLC and provided for the personal and demonstrative use of its owner, Tim, when

     William Lee Jones ("Jones"), who was intoxicated and traveling in the opposite direction to Tim caused

     his vehicle to cross 51" street and strike Tim's vehicle, thereafter attempting to flee the scene by

     proceeding in an easterly direction; that the collision occurred due to the negligence of Jones;

            12.     That the vehicle driven by Jones, which struck Tim and its driver was insured for

     Twenty-Five Thousand Dollars ($25,000.00) by Harbor Insurance Company, an Oklahoma Insurance

     Corporation ("Harbor");

            13.     That "Tim was severely injured from the impact of the collision, was taken to the hospital

     and suffered then and future damages including medical expenses, loss income, disability, and traumatic

     brain injury all valued in an unspecified amount in excess of Ten Thousand Dollars ($10,000.00) and

     the statutory limits of this Court, for which he made account and claim to Harbor and Catlin;

            14.     That Harbor paid Tim its Twenty-Five Thousand Dollars ($25,000.00) limit of liability

     coverage for the injures of Tim and that prior to that Tim had made claim to Catlin for Underinsured

     Motorist Coverages pursuant to the provisions of Catlin's policy;

            15.     That Catlin has failed and refused to pay any of its policy amounts to the Kirks, in

     violation of its obligations pursuant to the said policy and are in breach of the contractual provisions

     thereupon;

            16.     That Catlin has wrongfully denied Kirk's claims for underinsured motorist protection

     benefits.

             17.    That the value of Kirks entire claim exceeds the jurisdictional limits of Seventy-Five

     Thousand Dollars ($75,000.00), for removal to Federal Court, pursuant to Title 28, § 1332 of the

     United States Code.
Case 4:18-cv-00174-JED-JFJ Document 2-1 Filed in USDC ND/OK on 03/30/18 Page 5 of 7




            WHEREFORE, premises considered, Kirks make claim for an unspecified amount in excess

     of Ten Thousand Dollars ($10,000.00) for breach of Catlin's underinsured motorist policy, for the

     claims made and rejected by Catlin, for costs of this action, pre and post judgement interest as is

     afforded by the statutes of the State of Oklahoma and any and all other relief as this Court may deem

     just and equitable, and demand trial by jury on the merits.

                  CAUSE OF ACTION FOR TORTIOUS FAILURE TO RENDER
                           GOOD FAITH AND FAIR DEALINGS

            Kirk reassert all provisions made above in paragraphs 1 through 17 above and for Cause of

     Auction for Tortious Failure to Render Faith and Fair Dealings, hereinafter allege and state as follows:

            18.     That in processing the claims of Kirks, Catlin did commit at least the following acts, not

     limited as to those specified below:

                    A.      Unreasonable delay;

                    B.      Assertion of multiple unreasonable causes to first delay and finally deny
                            coverage to the Kirks for their losses;

                    C.      Failure to investigate the claims of the Kirks;

                    D.      Refusal to accept the documents and facts that were provided to prove Kirk's
                            claim for damages and coverages;

                    E.     Refusal to promptly and reasonably allow a waiver of subrogation of its policy
                           and eventual payment amounts to Harbor Insurance Company to permit Kirks
                           to complete settlement with Jones and Harbor of the negligent person's
                           Twenty-Five Thousand Dollars ($25,000.00) policy limits;

                    F.      Failure to respond to or reply to the correspondence and claims as submitted
                            by Kirks and their representatives;

                    G.      Conduction investigations not to determine its coverages and liabilities but with
                            the specific intent of denial, delay and opposition of the legitimate claims of its
                            insureds;
Case 4:18-cv-00174-JED-JFJ Document 2-1 Filed in USDC ND/OK on 03/30/18 Page 6 of 7




                    H.       Reliance on invalid, improper and erroneously technical reasons for delay and
                             denial of coverages and claims;

                    I.       Refusal to negotiate the said claims above described;

            19.     As a result of the actions of Catlin, as described above, Kirks have suffered personal

     emotional distress and personal economic loss in an unspecified amount in excess of Ten Thousand

     Dollars ($10,000.00);

            20.     That the value of Kirk's entire claim exceeds the jurisdictional limits of Seventy-Five

     Thousand Dollars ($75,000.00) for removal to Federal Court pursuant to Title 28, § 1332 of the

     United States Code.

            WHEREFORE, premises considered, Kirks make claim for an unspecified amount in excess

     of Ten Thousand Dollars ($10,000.00) for Tortious Failure to Render Good Faith and Fair Dealings,

     for costs of this action, pre and post judgement interest as is afforded by the Statutes of the State of

     Oklahoma, for attorney fees as is afforded by the Statutes of the State of Oklahoma, and for any and all

     other relief as this Court may deem just and equitable and for trial by jury on the merits;

            CAUSE OF ACTION FOR PUNITIVE AND/OR EXEMPLARY DAMAGES

            Kirks reassert all provisions made above in paragraphs 1 through 20 and for cause of action for

     damages of an exemplary or punitive nature, Kirks further allege and state:

            21.     That the actions of Catlin were unfair; that Catlin exererised undo tactics against Kirks

     for unjust payment avoidance; that Catlin used bogus reasons for delay of payment; that Catlin's

     investigation was biased and not conducted in accordance to the duties the statutes and law of the State

     of Oklahoma require of an underinsured motorist insurer and that the actions of Catlin in committing its

     acts of avoidance delay and denial were of a nature that the ordinary, reasonable and prudent person to
Case 4:18-cv-00174-JED-JFJ Document 2-1 Filed in USDC ND/OK on 03/30/18 Page 7 of 7




     become outraged in review of same, for which damages of a punitive and/or exemplary nature are and

     should be assessed in an unspecified amount in excess of Ten Thousand Dollars ($10,000.00);

            22.     That the value of Kirk's entire claim exceeds the jurisdictional limits of Seventy-Five

     Thousand Dollars ($75,000.00) for removal to Federal Court pursuant to Title 28, § 1332 of the

     United States Code.

            WHEREFORE, premises considered, Kirks make claim for punitive and exemplary damages

     in an unspecified amount in excess of Ten Thousand Dollars ($10,000.00) plus costs of this actions, pre

    and post judgement interest as is afforded by the Statutes of the State of Oklahoma and for any and all

     other relief as this Court may deem just and equitable and for trial by jury on the merits.




                                                            Respectfully Submitted,

                                                            BUFOGLE & ASSOCIATES, P.C.

                                                      By:
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